      Case 2:13-cr-02094-TOR            ECF No. 803        filed 10/23/14      PageID.3107 Page 1 of 2
PROB 12C                                                                             Report Date: October 23, 2014
(7/93)

                                       United States District Court

                                                       for the

                                        Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Jaime Barajas-Birrueta                   Case Number: 0980 2:13CR02094-TOR-3
 Address of Offender:
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: April 15, 2014
 Original Offense:        Misprision of a Felony, 18 U.S.C. § 4
 Original Sentence:       Prison 60 days;                   Type of Supervision: Supervised Release
                          TSR - 12 months
 Asst. U.S. Attorney:     Thomas J. Hanlon                  Date Supervision Commenced: August 8, 2014
 Defense Attorney:        Julian Elizabeth Trejo            Date Supervision Expires: August 7, 2015


                                         PETITIONING THE COURT

                To incorporate the violations contained in this petition in future proceedings with the
violations previously reported to the Court on September 25, 2014.

The probation officer believes that the offender has violated the following conditions of supervision:


Violation Number        Nature of Noncompliance

           3            Special Condition # 16: You shall abstain from the use of illegal controlled substances, and
                        shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                        supervising officer, but no more than six tests per month, in order to confirm continued
                        abstinence from these substances.

                        Supporting Evidence: Mr. Barajas-Birrueta failed to submit to random urinalysis testing
                        on October 14, 2014.
           4            Special Condition # 17: You shall abstain from alcohol and shall submit to testing
                        (including urinalysis and Breathalyzer), as directed by the supervising officer, but no more
                        than six tests per month, in order to confirm continued abstinence from this substance.

                        Supporting Evidence: Mr. Barajas-Birrueta tested presumptive positive for cocaine on
                        October 21, 2014.

                        Mr. Barajas-Birrueta submitted to a urinalysis test at Merit Resource Services which
                        returned presumptive positive for the presence of cocaine. The defendant admitted to using
                        the substance on or about October 19, 2014.
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Re: Barajas-Birrueta, Jaime
October 23, 2014
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                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:     October 23, 2014
                                                                        s/Jose Zepeda
                                                                        Jose Zepeda
                                                                        U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ X]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [ ]      Other

                                                                        Signature of Judicial Officer

                                                                       October 23, 2014
                                                                        Date
